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IN THE UNlTED STATES DISTRICT COURT 05 r__ f ‘
FoR THE WESTERN DISTRICT oF TENNESSEE mt ~0 fm B= 33

 

 

RlCHARD T. DOUGHTIE,lll
UNITED STATES BANKRUPTCY
TRUSTEE FOR

VINCENT O’NEIL BROOKS,

Plaintiff,
v. Case No. 03-2073-MI/A
ASHLAND INC. dib/a VALVOLINE
INSTANT OIL CHANGE,

Defendant.

 

ORDER ACCEPTING RESPONSE OUT OF TIME

This cause came on to be heard upon motion of Patricia A. Odell and the named Plaintiff/
Trustee, Richard T. Doughtie, lll. For good cause shown and the record as a whole, the Court
finds the motion well taken and grants same.

IT lS ORDERED that the brief submitted by the plaintiff is deemed filed

@th

J P. McCALLA

when received by the Clerk.

 

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Dated: J g § w

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
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Honorable J on McCalla
US DISTRICT COURT

